      Case 1:21-cv-01780-TLA Document 1 Filed 12/21/21 Page 1 of 5 PageID #: 1




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                          Chapter 11

    In re:                                                Case No. 20-12522 (JTD)

    MALLINCKRODT PLC., et al.,1                           (Jointly Administered)

                           Debtors.
                                                          Re: D.I. 5697, 5729

                                       NOTICE OF APPEAL

             PLEASE TAKE NOTICE that Attestor Limited, on behalf of itself and its affiliated

entities, including Avon Holdings I, LLC (collectively, “Attestor”) and Humana Inc. (“Humana,”

and, together with Attestor, the “Acthar Insurance Claimants”),2 creditors in the above-captioned

cases, by and through their undersigned counsel, hereby appeal to the United States District Court

for the District of Delaware, pursuant to 28 U.S.C. § 158(a) and rules 8002(a)(1) and 8003 of the

Federal Rules of Bankruptcy Procedure, from the order (D.I. 5697) (the “Order”), sustaining the

Debtors’ Objection to Certain Acthar-Related Administrative Claims (D.I. 3529), entered on

December 6, 2021, by the United States Bankruptcy Court for the District of Delaware, and the

oral bench ruling issued in connection with the Order (D.I. 5729) (the “Bench Ruling”).




1
 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the
Debtors’ proposed claims and noticing agent at http://restructuring.primeclerk.com/Mallinckrodt. The
Debtors’ mailing address is 675 McDonnell Boulevard, Hazelwood, Missouri 63042.
2
  Attestor entered into an agreement with Humana to pursue and participate in any proceeds of Humana’s
claims against the Debtors with respect to the distribution, marketing, and sale of H.P. Acthar Gel. See
Verified Statement of Willkie Farr & Gallagher LLP and Morris, Nichols, Arsht & Tunnell LLP Pursuant
to Rule 2019 of the Federal Rules of Bankruptcy Procedure, D.I. 2066. Attestor is also the transferee and
owner of the Acthar-related claims filed by United Healthcare Services, Inc. and OptumRx Group Holdings
and OptumRx Holdings, LLC. See Transfer/Assignment of Claim, D.I. 2317. Attestor is also the transferee
and owner of certain claims, including Acthar-related claims, filed by CVS Pharmacy, Inc. See Partial
Transfer of Claim Other Than for Security, D.I. 3246.
   Case 1:21-cv-01780-TLA Document 1 Filed 12/21/21 Page 2 of 5 PageID #: 2




       PLEASE TAKE FURTHER NOTICE that a copy of the Order is attached hereto as

Exhibit A, and a copy of the Bench Ruling is attached hereto as Exhibit B.

       PLEASE TAKE FURTHER NOTICE that the names of all parties to the Order and

Bench Ruling appealed from and the names, addresses and telephone numbers of their respective

attorneys are as follows:

 Counsel to the Acthar Insurance                   Counsel to Mallinckrodt plc and its
 Claimants:                                        affiliated Debtors:

                                                   RICHARDS, LAYTON & FINGER, P.A.
 MORRIS, NICHOLS, ARSHT &                          Mark D. Collins (No. 2981)
 TUNNELL LLP                                       Robert J. Stearn, Jr. (No. 2915)
 Donna L. Culver (Bar No. 2983)                    Michael J. Merchant (No. 3854)
 Robert J. Dehney (Bar No. 3578)                   Amanda R. Steele (No. 5530)
 Matthew B. Harvey (Bar No. 5186)                  Brendan J. Schlauch (No. 6115)
 Matthew O. Talmo (Bar No. 6333)                   One Rodney Square
 Taylor M. Haga (Bar No. 6549)                     920 N. King Street
 1201 North Market Street, 16th Floor              Wilmington, Delaware 19801
 P.O. Box 1347                                     Telephone: (302) 651-7700
 Wilmington, DE 19899-1347                         Facsimile: (302) 651-7701
 Telephone: (302) 658-9200                         Email: collins@rlf.com
 Facsimile: (302) 658-3989                                 stearn@rlf.com
 Email: dculver@morrisnichols.com                          merchant@rlf.com
         rdehney@morrisnichols.com                         steele@rlf.com
         mharvey@morrisnichols.com                         schlauch@rlf.com
         mtalmo@morrisnichols.com
         thaga@morrisnichols.com                   LATHAM & WATKINS LLP
                                                   George A. Davis
 WILLKIE FARR & GALLAGHER LLP                      George Klidonas
 Matthew A. Feldman                                Andrew Sorkin
 Paul V. Shalhoub                                  Anupama Yerramalli
 Joseph T. Baio                                    885 Third Avenue
 Matthew Freimuth                                  New York, New York 10022
 Benjamin P. McCallen                              Telephone: (212) 906-1200
 Richard Choi                                      Facsimile: (212) 751-4864
 Philip F. DiSanto                                 Email: george.davis@lw.com
 787 Seventh Avenue                                       george.klidonas@lw.com
 New York, NY 10019                                       andrew.sorkin@lw.com
 Telephone: (212) 728-8000
 Email: mfeldman@willkie.com                       Jeffrey E. Bjork
         pshalhoub@willkie.com                     355 South Grand Avenue, Suite 100
         jbaio@willkie.com                         Los Angeles, California 90071

                                               2
  Case 1:21-cv-01780-TLA Document 1 Filed 12/21/21 Page 3 of 5 PageID #: 3




      mfreimuth@willkie.com                   Telephone: (213) 485-1234
      bmccallen@willkie.com                   Facsimile: (213) 891-8763
      rchoi@willkie.com                       Email: jeff.bjork@lw.com
      pdisanto@willkie.com
                                              Jason B. Gott
                                              330 North Wabash Avenue, Suite 2800
                                              Chicago, Illinois 60611
EIMER STAHL LLP                               Telephone: (312) 876-7700
Scott C. Solberg                              Facsimile: (312) 993-9767
James W. Joseph                               Email: jason.gott@lw.com
Benjamin E. Waldin
James W. Joseph                               ARNOLD & PORTER KAYE SCHOLER,
Sarah H. Catalano                             LLP
224 South Michigan Avenue                     Matthew W. Wolf
Suite 1100                                    Laura Shores
Chicago, IL 60604                             Michael B. Bernstein
Telephone: (312) 660-7600                     Sonia Kuester Pfaffenroth
Email: ssolberg@eimerstahl.com                Rosa J. Evergreen
       jjoseph@eimerstahl.com                 601 Massachusetts Avenue, NW
       bwaldin@eimerstahl.com                 Washington, DC 20001-3743
       ssolberg@eimerstahl.com                Telephone: (202) 942-5000
       jjoseph@eimerstahl.com                 michael.b.bernstein@arnoldporter.com
       scatalano@eimerstahl.com               laura.shores@arnoldporter.com
                                              sonia.pfaffenroth@arnoldporter.com
                                              rosa.evergreen@arnoldporter.com

                                              D. Eric Shapland
                                              777 South Figueroa Street, 44th Floor
                                              Los Angeles, CA 90017-5844
                                              Telephone: (213) 243-4000
                                              eric.shapland@arnoldporter.com




                                  [Signature follows]




                                          3
   Case 1:21-cv-01780-TLA Document 1 Filed 12/21/21 Page 4 of 5 PageID #: 4




Dated: December 20, 2021
       Wilmington, Delaware   MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                              /s/ Matthew B. Harvey                .
                              Donna L. Culver (Bar No. 2983)
                              Robert J. Dehney (Bar No. 3578)
                              Matthew B. Harvey (Bar No. 5186)
                              Matthew O. Talmo (Bar No.6333)
                              Taylor M. Haga (Bar No. 6549)
                              1201 North Market Street, 16th Floor
                              P.O. Box 1347
                              Wilmington, DE 19899-1347
                              Telephone: (302) 658-9200
                              Facsimile: (302) 658-3989
                              Email:     dculver@morrisnichols.com
                                         rdehney@morrisnichols.com
                                         mharvey@morrisnichols.com
                                         mtalmo@morrisnichols.com
                                         thaga@morrisnichols.com

                              - and -

                              Matthew A. Feldman (admitted pro hac vice)
                              Paul V. Shalhoub (admitted pro hac vice)
                              Joseph T. Baio (admitted pro hac vice)
                              Matthew Freimuth (admitted pro hac vice)
                              Benjamin P. McCallen (admitted pro hac vice)
                              Richard Choi (admitted pro hac vice)
                              Philip F. DiSanto (admitted pro hac vice)
                              WILLKIE FARR & GALLAGHER LLP
                              787 Seventh Avenue
                              New York, NY 10019
                              Telephone: (212) 728-8000
                              Email:         mfeldman@willkie.com
                                             pshalhoub@willkie.com
                                             jbaio@willkie.com
                                             mfreimuth@willkie.com
                                             bmccallen@willkie.com
                                             rchoi1@willkie.com
                                             pdisanto@willkie.com

                              - and -




                                        4
Case 1:21-cv-01780-TLA Document 1 Filed 12/21/21 Page 5 of 5 PageID #: 5




                         Scott C. Solberg (admitted pro hac vice)
                         James W. Joseph (admitted pro hac vice)
                         Benjamin E. Waldin (admitted pro hac vice)
                         Sarah H. Catalano (admitted pro hac vice)
                         EIMER STAHL LLP
                         224 South Michigan Avenue
                         Suite 1100
                         Chicago, IL 60604
                         Telephone: (312) 660-7600
                         ssolberg@eimerstahl.com
                         jjoseph@eimerstahl.com
                         bwaldin@eimerstahl.com
                         scatalano@eimerstahl.com

                         Counsel to the Acthar Insurance Claimants




                                    5
